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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


COMPETITIVE ENTERPRISE INSTITUTE          )
1310 L Street, NW, 7th Floor              )
Washington, D.C. 20006                    )
                                          )
                    Plaintiff,            )
       v.                                 )                   Case No. 17-1771 (EGS)
                                          )
UNITED STATES DEPARTMENT OF JUSTICE )
950 Pennsylvania Ave., NW                 )
Washington, D.C. 20530-0001               )
                                          )
                    Defendant.            )
__________________________________________)


                                   JOINT STATUS REPORT

       Plaintiff, the Competitive Enterprise Institute (“CEI”), and Defendant, the United States

Department of Justice (ADOJ@), by and through the undersigned counsel, hereby report that they

have met and conferred regarding the subjects set forth in the Court’s minute order dated

October 24, 2017. They report as follows.

       1. The status of plaintiff’s FOIA request. DOJ is processing plaintiff’s request. Its

current focus is on gathering responsive documents, a task which is proceeding rapidly but is not

yet complete. The primary remaining task involves working with its information technology

personnel to retrieve electronic email data regarding employees who have left the agency. DOJ

anticipates that it will complete its document collection in early January, at which time it will

process documents for release on a rolling basis.

       2. Anticipated number of documents. To date, DOJ has collected several thousand

responsive documents, certain of which comprise multiple pages. Once it completes its

collection process in early January, it will have a clearer picture of the universe of responsive
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documents.

       3. Anticipated dates of release. DOJ anticipates making the first of its rolling releases

by the end of January 2018. It will make subsequent releases no less than every sixty days.

Based on current information, DOJ estimates that its processing will take approximately six

months, a schedule on which it would complete its processing in June or July 2018.

       4. Whether a motion for an Open America stay is likely. DOJ does not anticipate

seeking an Open America stay.

       5. Whether a Vaughn index will be required. DOJ plans to describe the reasons for

any withholdings in a Vaughn index or substantially similar manner.

       6. Whether this case would benefit from referral. The parties do not currently

believe that the case would benefit from referral to a magistrate judge or mediator.

       7. Proposed briefing schedule for dispositive motions. The parties believe that it is

premature to set a briefing schedule, both because DOJ’s timeframe for processing the request is

only an estimate and because the parties would benefit from a period after processing is complete

in which to attempt to resolve any disagreements informally. The parties suggest that they

propose a briefing schedule at the time, and in the event, that they reach an impasse in their

attempts to resolve the case informally.

       For these reasons, the parties propose to file Joint Status Reports every 30 days. Those

status reports will update the Court on the parties’ progress and propose a briefing schedule

should one be required.
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                     Respectfully submitted,

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